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New Jersey Domestic Violence Civil Complaint and Temporary Restraining Order Page 1 of 6

TRO [| Amended TRO N.J,S.A. 2C:25-17 et seq.

[] Superior Court, Chancery Division, Family Part, County Municipal Court of WEST ORANGE TOWN
Docket Number Police Case Number

21021279
In the Matter of Plaintiff (Victim) Plaintiff's Sex Plaintiff's Date of Birth
Redacted [7] Male [-] Female | 12/21/1955
Last Name First Name Initial | Defendant's Sex Race
Defendant Information | segpqw | BETTY [] Male [7] Femate | CAUCASIAN
AKA Defendant's Social SecurityNumber — | Date of Birth Height Weight
wn ® 02/01/1964 5 02

Home Address City State | Zip Eye Color Hair Color
12 BEECHWOOD DRIVE LAWRENCE NY | 17559 HAZEL
Home Phone Number Work Phone Number Distinguishing Features (Scars, Facial Halr, Etc.)
(516)849-5863 °
Employer Driver's License Number
Work Address State Driver's License Expiration Date

The undersigned complains that said defendant did endanger plaintiff's life, health or r well being (give specific facts regarding acts or threats of abuse and the date(s) and
time(s) they occurred; specify any weapons):
ON (Date} AT (Time) BY (Details; specify any weapons)

07/14/2021 | (09:21 AM Redacted STATES THAT IN THE FALL OF 2018, HE BEGAN A DATING RELATIONSHIP WITH MS. BAILA SEBROW. AFTER
APPROXIMATELY 6 TO 8 WEEKS OF DATING, "ecactec ADVISED MS, SEBROW THAT HE WISHED TO ENB THE
RELATIONSHIP. SHORTLY AFTERWARDS,ecaciec STATES MS. SEBROW BEGAN TO SEND NUMEROUS TEXT MESSAGES
WHICH CONTAINED VULGAR AND SEXUALLY EXPLICIT LANGUAGE,Redac ed . STATES HE INFORMED MS. SEBROW THAT HE
NO LONGER DESIRED TO HAVE ANY FURTHER COMMUNICATION BETWEEN THE TWO,

SINCE 2018, “°°2"°"L STATES THAT ON NUMEROUS OCCASIONS, MS. SEBROW HAS SENT TEXT MESSAGES AND EMAILS IN
WHICH SHE FALSELY ACCUSESRedacted AS BEING A RAPIST WITH MULTIPLE FEMALE VICTIMS. MS. SEBROW HAS
THREATENED TO INFORM Medacteds EMPLOYER OF THESE FALSE ALLEGATIONS. Redacted STATES MS. SEBROW HAS
CONTACTED HIS FEMALE FRIENDS AND ASSOCIATES, IN AN ATTEMPT TO GATHER INFORMATION REGARDING HIS PAST
SEXUAL HISTORY. °@08Cled ALSO STATES THAT HE HAS SEEN MS. SEBROW PRESENT AT THE SAME RELIGIOUS EVENTS HE
ATTENDS. HE STATES THAT MS. SEBROW WOULD TYPICALLY NOT TAKE PART IN THESE GATHERINGS, BUT BELIEVES SHE
DOES SO BECAUSE SHE iS AWARE HE WILL BE IN ATTENDANCE.

RECENTLY, ©02Cl@CgT ATES CONTACT WITH MS. SEBROW HAS BEEN SPARSE AND INFREQUENT, BUT STATES HE HAS
RECEIVED TEXT MESSAGES FROM UNKNOWN PHONE NUMBERS, CONTAINING SIMILAR CONTENT TO THE MESSAGES LEFT
BY MS. SEBROW Redacted, BELIEVES MS. SEBROW IS USING THESE UNKNOWN PHONE NUMBERS TO CONTINUE THE
HARASSING COMMUNICATION.

Redacted OFTEN SEARCHES HIS NAME ON GOOGLE TO SEE IF ANYTHING HAS BEEN WRITTEN ABOUT HIM. RECENTLY
THROUGH GOOGLE'S SEARCH ENGINE, Redacted DISCOVERED A TWITTERACCOUNT TITLEDRedacted —. AND THE
ISSUES OF DATE RAPE" WITH THE TWITTER HANDLE NAMED “e02° ©oDATERAPE™. IN THE DESCRIPTION OF THE
ACCOUNT, THE FOLLOWING IS WRITTEN: ‘Redacted | A 64 YEAR OLD FINANCIAL ADVISOR IN WEST ORANGE, NJIS
ACCUSED BY POLICE OF INCAPACITATING 100S OF VICTIMS BY PLYING THEM WITH DATE RAPE DRUGS." Redactes Ig
FEARFUL THAT HIS REPUTATION |S BEING SLANDERED DUE TO THESE CONSTANT FALSE ALLEGATIONS.

which constitute(s) ihe following criminal offenses(s): (Check all applicable boxes, Law Enforcement Officer: Attach N_/S.P. UCR DV1 offense report(s)):

oo Terroristic -
[_] Homicide L_] threats [_] Criminal Restraint [—] Sexual Assault [}Lewdness § [_] Burglary Harassment
False Crirninal Sexual Criminal Criminat ‘
C Assault O Kidnapping LJ Imprisonment Contact CL Mischief LJ Trespass CO staking
Criminal Contempt of a DV Any Other Crime Involving Risk of Death or Serious Bodily Cyber
O Coercion O Robbery Order C Injury L] Harassment
1, Any prior history of domestic violence reported or unreported? If Yes, explain: ’ [J Yes No
2. Does Defendant have a criminal history? (If Yes, submit any available criminat history report) [] Yes No
3. Any prior or pending court proceedings involving partles? (If Yes, enter docket number, court, county, state) L] Yes No
4. Has acriminal complaint been filed in this matter? (If Yes, enter date, docket number, court, county, state) L] Yes No

5. If Law Enforcement Officers responded to a domestic violence call:
Were weapons seized? If Yes, describe: LJ Yes No Was Defendant arrested? If Yes, describe;  [[] Yes No

6. {A} The Plaintiff and Defendant are 18 years old or older or emancipated and are: {select one)

(] Marrled / Civil Union ["] Divorced [_] Present Household Member [-] Was at Any Time a Household Member OR
(B) The Defendant is 18 years old or ofder or emancipated and Plaintiff and Defendant are: (select one)

[-] Unmarried {_] Co-Parents [] ExpectantParents ~— [¥] _ Plaintiff and Defendant have hac a dating relationship

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Docket Number Defendant's Name
BETTY SEBROW
7. Where appropriate list children you have with the Defendant, if any (include name, sex, date of birth, person with whom child resides}
Child's Name: Last First MI. Sex Birth Dats Resides
8. The Plaintiff and Defendant: [_] Presently; [-] Previously: Never: Resided Together
[_] Family Refationship: What is your relationship to the defendant? (Specify)
Certification
I certify that the foregoing responses made by me are true. | am aware that if any of the foregoing responses made by me are willfully false, | am
subject to punishmeni.
07/18/2021 Redacted
Date SIGNaIUre OF PIG

NOTICE TO DEFENDANT: A violation of any of the provisions listed in this order may constitute either civil or criminal contempt j-ursuant to NASA. 2C:25-30
and may result in your arrest, prosecution, and possible incarceration, as well as an imposition of a fine or jail sentence. Only a court can modify any of the
terms or conditions of this court order.

New larcey Domestic Violence Caurt Order Revised: 2/2021, CN: 10010 (DVTRO}
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Domestic Violence Civil Complaint and Temporary Restraining Order age 3 of 6

Docket Number Defendant's Name

BETTY SEBROW

Part 1- RELIEF - Instructions: Relief sought by Plaintiff
DEFENDANT:
TRO FRO TRO Granted

1. N/A You are prohibited from returning to the scene of violence.
2. You are prohibited from future acts of domestic violence.
3. You are barred from the following locations: Residence(s) of Plaintiff Place(s) of employment of Plaintiff
{_] Other (Only list addresses known to Defendant):
4. : You are prohibited fram havina anv oral. written. personal. electronic. or other form of contact or communication with Plaintiff.
oo Other(s; Redacted
5. You are prohibited fram making or causing anyone else to make harassing communications to: Plaintiff
Oo oO [] _ Other(s)- Same as Item 4 above or list names:
6, You are prohibited from statking, following or threatening to harm, stalk or follow: Plaintiff
CL) C1 [ff _ Other(s)- same as item 4 above or list names:
qi LI CJ You must pay emergent monetary rellef to (describe amount and method):
CL] LC C1 Piainttt:
{1 (1 (2 Dependents):
8 £) ©) ()  Youmust be subject to intake monitoring of conditions and restraints:
£]° £1 [1 _ Other (evatuations or treatment - describe):
9 [] [) £2) Psychiatric evatuation:
10. Prohibition Against Possession of Weapons: You are prohibited from possessing any and all firearms or other weapons and must
. immediately surrender these firearms, weapons, permit(s) to carry, application(s) to purchase firearms and firearms purchaser ID card to the
officer serving this Court Order. Failure to do so may result in your arrest and incarceration.
PLAINTIFF:
11.£] [] []  Youare granted exclusive possession of {list residence of alternate housing only if specifically known to defendant):
12] [) [[)  Youare granted temporary custody of:
132.0) ([) (2) _ Other reltef for - Plaintiff:
[1 [1 [2] _ Other relief for - Children:
LAW ENFORCEMENT OFFICER:
You are to accompany to scene, residence, shared place of business, other (indicate address, time, duration and purpose):
[]) (2 CC) Plaintitt

J . LL] (C] _ Defendant:

NOTICE TO DEFENDANT: A violation of any of the pravisions listed in this order may censtitute either civil or criminal contempt pursuant to NSA. 2C:25-30
and may result in your arrest, prosecution, and possible incarceration, as well as an imposition of a fine or Jail sentence. Only a court can modify any of the
terms or conditions of this court order.

Revised: 2/2021, CN: 10010 (DYTRO}

New Jersev Domestic Violence Court Order
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Domestic Violence Civil Complaint and Temporary Restraining Order Page 4 of 6
Docket Number Defendant's Name
BETTY SEBROW

Warrant to Search for and to Seize Weapons for Safekeeping

To any law enforcement officer having jurisdiction - this Order shall serve as a warrant to search for and to seize any issued permit to carry a firearm, appiication to
purchase a firearm and firearms purchaser identification card issued to the defendant and the following firearm(s) or other weapon(s), Describe the weapons to be
seized:

1, Youare hereby commanded to search for the above described weapons and/or permits to carry a firearm, application to purchase a firearm and firearms purchaser
identification card and to serve a copy of this Order upon the person al the premises or locatlon described as:

2. Youare hereby ordered in the event you seize any of the above described weapons, to give a receipt for the properly so seized to the person from whom they were
taken or in whose possession they were found, or In the absence of such person to have a copy of this Order together with such receipt in or upon the said structure
from which the property was taken.

3. You are authorized to execute this Order immediately or as soon thereafter as |s practicable:
[_] Anytime = [_] Other:
4, Youare further ordered, after the executlon of this Order, to promptly provide the Court with a written inventory of the property seized per this Order.

Part 2 - RELIEF - DEFENDANT:

TRO “FRO TRO Granted
1{] [1 [1 Noparenting time / visitation until further ordered;
Oo C] CJ Parenting time / visitation pursuant to suspended until further order:
[J] £1] [1 Parenting time/ visitation permitted as follows:
2] [) [0] _ Riskassessment ordered {specify by whom, any requirements, dates):
370°C You must provide compensatlon as follows:
[lo oO Emergent support for Plaintiff:
Oho Oo for Dependent(s):
waa tT] O Ongoing support for Plaintiff:
wA [] [O for Dependent{s):
[flo 0 Compensatory damages to Plaintiff:
wA [] Punitive damages fo Plaintiff:
wa. []) to Third Party(les) (describe):
flo Medical coverage for Plaintiff:
ilo © for Dependent{s):
[Ll oO [] Rent [_] Mortgage payments (specify amount(s) and reciptent(s)):
CL] (2 [J  Youmust participate ina batterers Intervention program:

O
O

CT You are granted temporary possession of the following personal property (describe):

Part 2 - RELIEF - PLAINTIFF:
CT] () [_]  Youare granted temporary possession of the following personal property (describe):

Comments:

NOTICE TO DEFENDANT: A violation of any cf the provisions listed in this order may constitute either civil or ertminal contempt pursuant to WJ.S.A. 2C:25-30
and may result in your arrest, prosecution, and possible Incarceration, as well as an imposition of a fine or jail sentence. Only a court can modify any of the
terms or conditions of this court order.

New Jersey Domestic Violence Court Order : Revised 2/2021, CN: 16010 (DYTRO}

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Domestic Violence UN Sociplane ME enpory Ro eu EN hee> Filed 10/21/22 Page 5 of 6 Pagedb; ol 68

Docket Number Defendant's Name

BETTY SEBROW

Addendum:

[_] TRO denied. Complaint dismissed by Family Part.
[_] TRO denied by Municipal Court,

[_] TRO dented by Superior Court Judge at De Novo Hearing.

CT TRO granted by Superior Court Judge at De Novo Hearing. The Court has established Jurisdiction over the subject matter and the parties pursuant to WAS5.A.2C:25-17 et
seq, and has found good cause that a prima facie act of domestic viotence has been established; that an Immediate danger of domestic violence exists and that plalatiff's life,
health and well being are endangered; that an emergency restraining Order Is necessary pursuant to 8. 5:7A(b) and NJ,S.A. 20:25-28 to prevent the occurrence of recurrence of
domestic violence and to search for and seize firearms and other weapons as indicated In this order,

TRO granted. The Court has estabilshed jurisdiction over the subject matter and the parties pursuant to A.J.S.A. 20-25-17 et seq, and has found good cause that a prima facie
act of domestic violence has been established; that an immediate danger of domestic violence exists and that plaintiff's life, health and well being are endangered; that an
emergency restraining Ordar is necessary pursuant to &. §:7A(p) and WJ.S.A. 20:25-28 to prevent the occurrence or recurrence of domestic violence and to search for and seize
flrearms and other weapons as indicated in this order.

sf
Date/Time [.]WiaTelecommunications Hearing Officer WEST ORANGE TOWN
07/15/2021 12:36PM s/ DENNIS DOWD ESSEX
Date/Time [¥) Via Telecommunications Honorable Municipal Court Judge Court / County
s/
Date/Time (_] Via Telecommunications Honorable Superior Court Judge Court / County

All Law Enforcement Officers Will Serve and Fully Enforce This Order

This ex parte Domestic Violence Complaint and Temporary Restraining Order meets the criteria of the federal Violence Against Women Act for
enforcement outside of the State of New Jersey upon verification of service of defendant. 18 U.S.C.A. 2265 & 2266 :

This Order Shall Remain in Effect Until Further Order of the Court and Service of Said Order on the Defendant.
Notice to Appear to Plaintiff and Defendant

1. iv] 8oth the plalntiff and defendant are ordered to appear for a finat hearing on (date) 07/22/2021 at (time) 08:30 AM at the Superior Court,
Chancery Division, Family Part, ESSEX County, located at (address)

WILENTZ COURT COMPLEX, 212 WASHINGTON ST, 12TH FLOOR, NEWARK, NJ 07102, 973-776-9300 X57210
Note: You must bring financial information Including pay stubs, insurance information, bills and mortgage receipts with you to Court.

2. []_ Remote: All parties shall appear for a hearing on at
L C] Video Remote Hearing Is scheduled at the above date and time. You must attend via video as schedtded. Please contact the court for further
details at
I, Cc Phone Remote Hearing is scheduled at the above date and time. You must attend via Phone as scheduled, Please contact the court for further
Getails at

IL C] Remote Hearing is scheduled at the above date and time. You must attend as scheduled. Please contact the court for further details at

V. [[]_ The proceeding will be conducted on the papers. Please contact the court for details
3. [[] The final hearing in this matter shall not be scheduled unti

4. [_]_Interpreterneeded. Language:

Upon satisfaction of the above-noted conditions notify the Court immediately so that a final hearing date may be set.

IMPORTANT: The parties cannot themselves change the terms of this Order on thelr awn. This Order may only be changed or dismissed by the
Superior Court. The named defendant cannot have any contact with the plaintiff without permission of the Court.

Notice to Defendant

A violation of any of the provisions listed in this Order ora failure to comply with the directive to surrender all weapons, firearm permits,
applications or identification cards may constitute criminal contempt pursuant to VJ.S.A. 2C:29-9(b), and may also constitute violations of other
state and federal laws which may result in your arrest and/or criminal presecution. This may result in a jall sentence.

You have the right to immediately file an appeal of this temporary Order before the Superior Court, Chancery Division, Family Part, as indicated
above and a hearing may be scheduled.

New Jersey Domestic Violence Court Order Revised: 2/2021 CN: 10010 (DVTRO)
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Domestic Violence Civil Complaint an mporary
Docket Number Defendant's Name
BETTY SEBROW
Return of Service
Plaintiff was given a copy of the Complaint / TRO by:
HANSON PATRICK 12:36PM = 07/15/2021 WEST ORANGE POLICE DEPT.
Print Name Tire and Date Signalure 7 Badge Number 7 Department =
[_} | hereby certify that | served the within Complaint / TRO by delivering a copy to the Defendant personally:
“Print Name Time and Date Signature 7 Badge Number 7 Depariment

CJ | hereby certify that | served the within Complaint / TRO by use of substituted service as follows:

Print Name Time and Date Signature 7 Badge Number / Department
[-] Defendant could not be served (explain):
Print Name Time and Date ‘Signature 7 Badge Number / Department _
by The Courthouse Is accessible to those with disabilities. Please notify the Court If you require assistance. &

Distribution: Family Part, Plaintiff, Defendant, Sheriff, Other

New Jersey Domestic Violence Court Order Revised: 2/2021 CN: 10010 (DYTRO)
